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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

NICOLE M. BOWLINE, et al.,

      Defendants.                                          No. 04-CR-30029-DRH

                                     ORDER
HERNDON, District Judge:

            Now before the court is a Motion to Continue Sentencing Hearing filed

by defendant Nicole Bowline (Doc. 300). In support of her Motion, Bowline’s counsel

states that due to defendant Bowline’s agreement with the Government to cooperate

and provide testimony at the trial of Quawntay Adams, she wishes to continue her

sentencing hearing until after the conclusion of the Quawntay Adams trial. As the

Court has recently continued this trial until August 20, 2007, and has previously

granted her a continuance of sentencing hearing, she again believes such continuance

is necessary and justified. Therefore, the Court GRANTS defendant Bowline’s

Motion to Continue Sentencing (Doc. 300) and CONTINUES the sentencing hearing

scheduled for April 20, 2007 at 10:30 a.m. to September 21, 2007 at 9:30 a.m.

            IT IS SO ORDERED.

            Signed this 16th day of April, 2007.

                                                     /s/       David RHerndon
                                                     United States District Judge
